       Case: 19-3582     Document: 75    Page: 1     Date Filed: 02/15/2022




                        Docket Nos. 19-2073 & 19-3582

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT

                       MARJORIE M. GILLESPIE, et al.,

                                             Plaintiffs-Appellants,
                                        v.

                       LORI DRING and NANCY ASARO,

                                             Defendants-Appellees.

               On Appeal from the United States District Court
                  For the Middle District of Pennsylvania
                No. 3:15-cv-950 (Hon. Matthew W. Brann)


        BRIEF OF APPELLEES LORI DRING & NANCY ASARO


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        Case: 19-3582   Document: 75   Page: 2   Date Filed: 02/15/2022




                          TABLE OF CONTENTS

JURISDICTIONAL STATEMENT……………………………………………vii
COUNTERSTATEMENT OF THE ISSUES PRESENTED………………...viii
RELATED CASES AND PROCEEDINGS……………………………………ix
COUNTERSTATEMENT OF THE CASE……………………………………1
    A. Historical Background Relevant to the Suit Brought By Appellants
       Against Appellees, Nancy Asaro and Lori Dring…………………….1
           i. The West Shore Strip…………………………………………….1
           ii. The Settlement Agreement and the Underlying Litigation………3
    B. The 2006 Agreement……………………………………………………7
           i. The Express Terms of the 2006 Agreement, The Admissions
               by WSPO That Clarify Any Ambiguity, and the Facts
               Considered Germane By the District Court to the Interpretation
               of the Agreement…………………………………………………7
    C. Facts Concerning the Creation, Intent, and Meaning of the 2006
       Agreement Conclusively Established and Admitted by the WSPO…….16
ARGUMENT…………………………………………………………………….20
    A. The District Court Properly Held That Dring Has Not Received the
       Instruments of Conveyance That She Was Entitled To and,
       Therefore, Is Not Obligated to Deliver A Quitclaim Deed Subject to a
       Permanent Easement in Favor of WSPO, And This Holding Was Not
       Based Upon The Doctrine of Futility Alone, But Rather the Specific
       Obligations Created by the Settlement Agreement……………………..20
    B. The Court Below Properly Determined that the WSPO Do Not Have
       A Prescriptive Easement Claim, Because the Release of a Claim for
       Prescriptive Easements is Binding on the WSPO………………………26
           i. WSPO Did Not Raise the Issue or Legal Theory Of Mutual
               Releases Creating a De Facto Easement Before the District
               Court Below, and are Prohibited From Raising This New
               Legal Theory On Appeal………………………………………...26
           ii. The WSPO Fail to Cite Any Legal Authority That Supports
               the “De Facto Easement” Theory Because None Exists, And
               Instead WSPO Cite Inapposite Authority That Undermines
               Their Arguments…………………………………………………30
    C. Dring is the Prevailing Party Pursuant to the 2006 Agreement And
       Is Entitled to Attorneys’ Fees as Ruled by Judge Caputo………………34
CONCLUSION…………………………………………………………………..40



                                                                           ii
       Case: 19-3582   Document: 75   Page: 3   Date Filed: 02/15/2022




                       TABLE OF AUTHORITIES

CASES
Ariel Land Owners, Inc. v. Dring,
      No. 3:15-cv-00478, 2018 WL 3934623
      (M.D. Pa. Aug. 16 2018)…………………………………6, 11, 12,13, 22, 26

Ariel Land Owners, Inc. v. Dring,
      No. CIV.A. 3:01-cv-00294, 2005 WL 2414123 (M.D. Pa. Sept.
       30, 2005)…………………………………………………………………….3

Ariel Land Owners, Inc. v. Dring,
      No. CIV.A. 3:01-cv-00294-ARC, 2008 WL 189644 (M.D. Pa. Jan. 18,
      2008), amended on reconsideration in part, No. CIV. A. 3:01-cv-0294,
       2008 WL 3837482 (M.D. Pa. Aug. 13, 2008)…………………..……….…6

Ariel Land Owners, Inc. v. Dring,
      374 F.App’x 346 (3d Cir. 2010)………………………………………...6, 11

Boro Constr., Inc. v. Ridley Sch. Dist.,
     992 A.2d 208 (Pa. Cmwlth. 2010)……………………..………………….35

Brown v. Bd. of Educ. Of Topeka, Kan.,
     349 U.S. 294, 75 S.Ct. 753 (1955)…………………………………………33

Brown v. Bd. of Educ. Of Topeka, Shawnee Cty., Kan.,
     347 U.S. 483, 74 S.Ct. 686 (1954)…………………………………………33

Burgess v. Senior,
     64 Pa. D.& C. 167 (Pa. Ct. Comm. Pl. 1945)………….………………….36

Cooter & Gell,
      496 U.S. 384 (S. Ct. 1990)…………………….…………………………..38

Feld v. Primus Technologies Corp.,
      97 Fed. R. Evid. Serv. 777, 2015 WL 2357082 (M.D. Pa. 2015)…...……..21

Flick v. Borg-Warner Corp.,
       892 F.2d 285 (3d Cir. 1989)…………..……………………………………29



                                                                         iii
      Case: 19-3582   Document: 75   Page: 4   Date Filed: 02/15/2022




Frank v. Colt Industries, Inc.,
      910F.2d 90 (3d Cir.1990)…………………………………………………..29

Gardner v. Clark,
     33 Pa. D. & C.3d 662 (Pa. Ct. Comm. Pl. 1985)…………….……………37

Harris v. City of Philadelphia,
      35 F.3d 840 (3d Cir. 1994)……………..………………………………29, 30

Hormel v. Helvering,
     312 U.S. 552, 61 S.Ct. 719 (1940)……………..………………………28, 29

In re American Biomaterials Corp.,
       954 F.2d 919 (3d Cir. 1992)………………………………………………..29

Krebs v. United Refining Co. of Pennsylvania,
      893 A.2d 776 (Pa. Super. 2006)………………………...………………….35

Lynn v. Smith,
     664 F.Supp. 929 (M.D. Pa. 1986)…………………….…………………..37

Marsa v. Metrobank for Sav., F.S.B.,
     825 F. Supp. 658 n.7 (D.N.J. 1993)……………………………………….25

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
     475 U.S. 574, 106 S.Ct. 1348 (1986)………………………..…………….13

Mertens v. Hewitt Assocs.,
     508 U.S. 248, 113 S. Ct. 2063 (1993)……………………….……………..33

Mirkowicz v. Reading Co.,
     84 F.2d 537 (3d Cir. 1936)………………………………………...………28

Newark Morning Ledger Co. v. United States,
     539 F.2d 929 (3d Cir. 1976)……………………………………………28, 29

Pritzker v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
      7 F.3d 1110 (3d Cir. 1993)………...……………………………………….29



                                                                        iv
      Case: 19-3582   Document: 75   Page: 5   Date Filed: 02/15/2022




Profit Wize Mktg. v. Wiest,
       812 A.2d 1270 (Pa. Super. 2002)……………….………………………….36

Sachanko v. Gill,
     388 F.2d 859 (3d Cir. 1968)……………….……………………………….28

Singleton v. Wulff,
      428 U.S. 106, 96 S.Ct. 2868 (1976)…………………..……………………29

Stahl et al. v. Erie Delivery Co.,
       31 Pa. D. & C.167 (Pa. Ct. Comm. Pl. 1937)……………..……………….36

Tromza v. Tecumseh Products Co.,
     378 F.2d 601 (3d Cir. 1967)………………………………………………..28

True R.R. Assocs., L.P. v. Ames True Temper, Inc.,
      152 A.3d 324 (Pa. Super. Ct. 2016)……………………….……………….31

Tyler v. O’Neill,
      112 Fed.Appx.158 (3d Cir. 2004)…………………………………………36

U.S. v. Catena,
      500 F.2d 1319 (3d Cir. 1974)………………………………………………21

Widmer Eng’g, Inc. v. Dufalla,
    837 A.2d 459 (Pa. Super. Ct. 2003)……………………..…………………30

Yaros v. Trustees of the Univ. of Pennsylvania,
      742 A.2d 1118 (Pa. Super. 1999)……………………..……………………33

Zavatchen v. RHF Holdings, Inc.,
      907 A.2d 607 (Pa. Super. Ct. 2006)……………………….……………….34

STATUTES, RULES & REGULATIONS

28 U.S.C. § 1291……………………………………………………………….vii

28 U.S.C. § 1332………………………………………………………………..vii

Fed. R. Civ. P. 41……………………………………………………………37, 38

                                                                        v
       Case: 19-3582   Document: 75   Page: 6   Date Filed: 02/15/2022




Fed. R. Civ. P. 60………………………………………………………………..vii

OTHER AUTHORITIES

Black’s Law Dictionary, 7th ed. At 1145………………………………...………..36

E.A. Farnsworth, Contracts, §8.9 (2 Ed. 1990)………………………..….………25

Restatement (Second) of Contracts § 253(2) (1981)……………………..…..23, 24




                                                                         vi
         Case: 19-3582     Document: 75      Page: 7     Date Filed: 02/15/2022




                        JURISDICTIONAL STATEMENT

      The District Court initially exercised diversity of citizenship jurisdiction

pursuant to 28 U.S.C. § 1332 when the action subject to the instant matter was filed

in 2015. Five (5) years later, Appellants’ challenged diversity of citizenship and

filed a Motion for Relief from Judgment under Fed. R. Civ. P. 60(b)(4), arguing that

at the time the action was brought, diversity of citizenship did not exist because one

of the plaintiffs was a citizen of the same state as both defendants (New Jersey). In

ruling on Appellants’ Rule 60 Motion, the Honorable Judge Matthew Brann of the

District Court rejected Appellants’ request to dismiss the entire action, holding that

while diversity did not exist at that time the matter commenced in the District Court,

severing the non-diverse toxic plaintiff preserves the years of litigation in this matter.

Judge Brann then severed the non-diverse plaintiff. See Marjorie M. Gillespie, et

al., v. Lori Dring & Nancy Asaro, No. 3:15-CV-00950, WL 4989888 (M. D. Pa.

Oct. 27, 2021)

      Therefore, this Honorable Court has appellate jurisdiction pursuant to 28

U.S.C. § 1291. This is an appeal from final decisions made by the District Court on

October 10, 2018 and October 17, 2019, respectively. Both the October 10, 2018

Order and the October 17, 2019 Order were issued by Judge Caputo and all parties

have asserted that these Orders are appealable under 28 U.S.C. § 1291.




                                                                                       vii
           Case: 19-3582   Document: 75    Page: 8     Date Filed: 02/15/2022




            COUNTERSTATEMENT OF THE ISSUES PRESENTED

      Whether the District Court below properly held that Dring has not received

the instruments of conveyance that she was entitled to and, therefore, is not obligated

to deliver a quitclaim deed subject to a permanent easement in favor of WSPO where

the Court’s holding was not based upon the doctrine of futility alone, but rather the

specific obligations created by the 2006 settlement agreement.

      Whether the District Court below properly held that the WSPO do not have a

Prescriptive Easement claim, and the release language does not “effectively” create

an easement over the northern part of the western shore of Lake Ariel (“North

Strip”).

      Whether the District Court below properly held that Dring was the “prevailing

party” pursuant to the 2006 Agreement and is entitled to attorneys’ fees as ruled by

the lower court.




                                                                                    viii
         Case: 19-3582     Document: 75     Page: 9     Date Filed: 02/15/2022




                    RELATED CASES AND PROCEEDINGS

      The instant appeal is related to two (2) consolidated appeals: Marjorie M.

Gillespie, et al., v. Lori Dring and Nancy Asaro, No. 19-3582, and No. 19-2073.

These appeals are related to yet another appeal pending before this Honorable Court,

Lori Dring, et al. v. Ariel Land Owners, Inc., No. 20-2080, an appeal pending from

a case directly related to the parties and issues herein.




                                                                                  ix
        Case: 19-3582     Document: 75     Page: 10   Date Filed: 02/15/2022




                         COUNTERSTATEMENT OF THE CASE

   A. HISTORICAL BACKGROUND RELEVANT TO THE SUIT BROUGHT
      BY APPELLANTS AGAINST APPELLEES, NANCY ASARO AND LORI
      DRING.

      The Appellees, Lori Dring and Nancy Asaro (hereinafter “Appellees” or

“Dring”) did not commence the lawsuit that resulted in the instant appeal. Rather,

Appellants, property owners who own summer homes and cottages near the western

shore of Lake Ariel, Wayne County, Pennsylvania (hereinafter “WSPO” for West

Shore Property Owners, or “Appellants”), commenced the action below that resulted

in the instant appeal.

      The instant appeal involves (a) property rights to a parcel of land owned in

fee by Dring and (b) a 2006 Settlement Agreement (“2006 Agreement”) that

resolved the original underlying litigation.

      i. The West Shore Strip

      Dring owns approximately eighty-nine (89) acres of land on or near the

western shore of Lake Ariel, Wayne County, Pennsylvania. (See, App. Doc. No. 36

at p. 11 Appellees’ Brief (hereinafter “App. Brief”) at p. 1 ). The Dring properties

consist of multiple parcels of land, one of which is several feet wide, stretches for

about a mile along the western shore of Lake Ariel, and exists between land owned




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        Case: 19-3582     Document: 75      Page: 11     Date Filed: 02/15/2022




by the WSPO and the lake itself (“West Shore Strip”). In other words, the most direct

route from the property of the WSPO to the lake is across the West Shore Strip. 1

      The parcel at issue is known colloquially as, and referred to in this litigation

as, the “West Shore Strip”. However, “strip” is perhaps a bit of a misnomer; the

boundaries of the West Shore Strip are determined by the elevation of the high and

low water marks along the western shore of Lake Ariel. Thus, the grade of the land

is determinative of the width of the so-called “strip” which is roughly 2.5 feet at

locations of the steepest grade, and much larger in width where the terrain slopes

more gradually between the high and low water marks. Part of the West Shore Strip

follows the course of West Shore Drive for roughly a mile between that road and the

waters/shoreline of Lake Ariel. Thus, it is a parcel of significant length and varying

width. It is not just a 2.5 foot strip of land as the WSPO Brief suggests. Dring own

the West Shore Strip in fee and that is not in dispute by the parties. However, the

WSPO attempted to make a claim for prescriptive easements over the West Shore

Strip, and for the reasons set forth in greater detail below, the District Court properly

granted Summary Judgment against the WSPO and dismissed their claims for

prescriptive easements against Dring. After losing in the District Court WSPO took

this appeal.


1
 The overwhelming majority of the individual WSPO properties do not border on or
touch the boundaries of the West Shore Strip. Rather, there is a road and a buffer of
land not owned by WSPO between the WSPO properties and the West Shore Strip.

                                                                                       2
        Case: 19-3582      Document: 75     Page: 12     Date Filed: 02/15/2022




      ii. The Settlement Agreement and the Underlying Litigation

      In 1999, a for-profit company, Ariel Land Owners, Inc. (“ALO”), brought a

quiet title action (and other claims) against Dring seeking to, inter alia, quiet title to

the lake bed and waters of Lake Ariel. ALO, not Dring, commenced that litigation

in the Wayne County Court of Common Pleas. 2 See Ariel Land Owners, Inc. v.

Dring, 188-c-1999. Dring removed that Wayne County action to the District Court,

where it is docketed as Ariel Land Owners, Inc. v. Dring, 3:01-cv-00294-ARC

(2001) (“Dring I”). In Dring I, Dring joined the WSPO as third-party defendants,

because the WSPO were at times traversing and/or otherwise intermittently using or

occupying portions of the West Shore Strip owned by Dring. Dring’s claims against

the WSPO sounded in trespass and ejectment. In Dring I, WSPO brought a

counterclaim against Dring for prescriptive easements over the West Shore Strip for

ingress and egress to Lake Ariel as well as for various structures and improvements

that encroached on the West Shore Strip. Thus, the parties to Dring I were: (1) ALO,

(2) Dring, and (3) WSPO.

      As mentioned above, Dring owns approximately eighty-nine (89) acres of

land on the western shore of Lake Ariel. Through the 1999 action, that became Dring


2
  Appellants’ Brief attempts to cast Dring/Asaro as creating a litigious atmosphere
related to lands owned in and around Lake Ariel. In reality, ALO has a long history
of litigating matters against property owners in and around Lake Ariel as evidenced
by the dockets on both the Wayne County Court of Common Pleas as well as the
U.S. District Court for the Middle District of Pennsylvania.

                                                                                        3
          Case: 19-3582    Document: 75     Page: 13     Date Filed: 02/15/2022




I following removal, ALO sought to prevent Dring from using Lake Ariel, and to

prevent Dring from developing their land in a manner that would include use of Lake

Ariel for recreation.

        ALO’s primary purpose is to exploit its control of access to Lake Ariel and

charge annual fees for leases and “lake rights.” It charges those fees and compels

those leases by bullying and threatening some of its neighbors with litigation and

providing special access and privileges to those select families connected to or in

favor with its very closely held ownership.

          Indeed, property owners near Lake Ariel have paid millions of dollars over

the years in annual fees to ALO, and those fees serve two primary purposes: (1) to

propagate vexatious litigation (such as the instant matter) and (2) to otherwise enrich

ALO ownership and allow that small group to attempt to run Lake Ariel as their own

personal fiefdom.

        As Dring I progressed toward trial, on August 28, 2006, all parties (i.e., Dring,

ALO and WSPO) entered into a Settlement Agreement (“2006 Agreement”). (See

App. 86-90). The 2006 Agreement settled the claims between Dring and WSPO and

partially settled the claims between ALO and Dring. (See App. 86 at ¶ 1). The claims

germane to this appeal are those between WSPO and Dring that were addressed in

the 2006 Agreement.3


3
    The Agreement was Amended in part on August 21, 2007 (See App. 92).

                                                                                       4
        Case: 19-3582    Document: 75     Page: 14     Date Filed: 02/15/2022




      The 2006 Agreement consisted of the following primary terms/elements:

      (a) WSPO released their claims related to the West Shore Strip, and dismissed
          their claims made in Dring I with prejudice (the released and dismissed
          claims included those for prescriptive easements). (App. 88, 2006
          Agreement, ¶ 6)
      (b) Dring dismissed its claims raised in Dring I against WSPO, and released
          its claims accrued to that date, including the prior trespass by WSOP. (App.
          88, 2006 Agreement, ¶ 6)
      (c) Dring was to deliver to ALO a deed in fee to part of the West Shore Strip
          (specifically the part between the property of the WSPO and Lake Ariel)
          (App. 86, 2006 Agreement, ¶ 3)
      (d) ALO was to execute and deliver documents and instruments in recordable
          form to Dring granting (i) four (4) “lake rights” and (ii) a permanent
          recordable easement over a parcel of land referred to as “Cardinal Lane”
          granting Dring, inter alia, the permanent rights of ingress and egress, to
          construct a dock, and use same for recreation, and park vehicles in the area
          of Cardinal Lane (App. 86-88, 2006 Agreement, ¶ 5).

      See, also, Memorandum Opinion of Judge A. Richard Caputo, Gillespie v.

Dring, NO. 3:15-CV-0950 ( M.D. Pa. Oct. 10, 2018) (hereinafter “Mem. Op.”) at p.

1-9, App. p. 1-9; App. 465-468 (Defendants’ Statement of Undisputed Material

Facts in Support of Summary Judgment (“SOF”)), and App, 933 (Response of

Plaintiffs to Defendants’ Statement of Undisputed Material Facts (“Resp. SOF”)).

      After the 2006 Agreement was executed, Dring and WSPO dismissed their

respective claims against each other in Dring I. The only claims that remained were

between Dring and ALO. The 2006 Agreement, as amended, required that the

exchange of documents and instruments between ALO and Dring occur only after a

final non-appealable judgment was entered in Dring I on the remaining claims

between Dring and ALO. (See, App. 92, August 2007 Amendment).

                                                                                    5
        Case: 19-3582    Document: 75     Page: 15    Date Filed: 02/15/2022




      Judge Caputo conducted a bench trial in Dring I, and issued two orders and

opinions in 2008 following the conclusion of the proceedings in the District Court.

See, Ariel Land Owners, Inc. v. Dring, No. CIV A 3:CV-01-0294, 2008 WL 189644

(M.D. Pa. Jan. 18, 2008), amended on reconsideration in part, No. CIV. A. 3:CV-

01-0294, 2008 WL 3837482 (M.D. Pa. Aug. 13, 2008), and aff'd, 374 F. App'x 346

(3d Cir. 2010).

      When Dring I, finally resolved, following an appeal before this Court styled

Ariel Land Owners, Inc. v. Dring, 374 F. App'x 346 (3d Cir. 2010), ALO revealed

to Dring that it did not have title to Cardinal Lane, and therefore could not execute

and deliver to Dring instruments of conveyance, in recordable form, which transfer

to Dring an easement over Cardinal Lane. (App. 2-3,4-6, Mem. Op. at p. 2-3,4-6,

and Dring v. Ariel Land Owners, Inc., No. 3:15-CV-00478, 2018 WL 3934623

(M.D. Pa. Aug. 16, 2018)). This amounted to repudiation of the 2006 Agreement by

ALO, and breach by ALO. (Id.) Thus, there Dring’s duty or obligation to deliver a

deed to ALO never materialized, because ALO would not and could not deliver the

easement over Cardinal Lane to Dring. (Id.)

      The 2006 Agreement did not require Dring to deliver any deeds, documents

or instruments directly to WSPO. (Id. and see, also, App. 1-9, Mem. Op. at p. 1-9,

App. 465-468, SOF and App. 933, Resp. SOF). Rather, the 2006 Agreement required

a simultaneous exchange of documents between ALO and Dring. (Id.) It further



                                                                                   6
          Case: 19-3582     Document: 75    Page: 16    Date Filed: 02/15/2022




required that the deed to ALO include or be made subject to an easement in favor of

WSPO. In other words, if there is no deed to ALO then no easement can be created

in favor of the WSPO. Nevertheless, the WSPO sued below for breach of the 2006

Agreement, and sought an order of the District Court to compel Dring to grant an

easement over the West Shore Strip to each WSPO individually. (Id.) WSPO lost,

Judge Caputo entered Summary Judgement against WSPO. WSPO appealed to this

Court.


    B. THE 2006 AGREEMENT

               i.     THE EXPRESS TERMS OF THE 2006 AGREEMENT, THE
                      ADMISSIONS BY WSPO THAT CLARIFY ANY
                      AMBIGUITY, AND THE FACTS CONSIDERED GERMANE
                      BY THE DISTRICT COURT TO THE INTERPRETATION OF
                      THE AGREEMENT

         The relevant parts of the 2006 Agreement are contained at ¶¶ 1, 2, 3, 5, 6, 7,

8, 9, 10, 14, 15, and 16.4 The District Court also relied on parol evidence and

admissions by WSPO to clarify, to the extent necessary, any ambiguity in ¶¶ 3 and

15 of the 2006 Agreement. (See App. 5, Mem. Op. at 5., and App. 414-419, January

19, 2016, Memorandum Opinion and Order of Judge Caputo on Reconsideration of

Motion to Dismiss, expressly allowing Dring to present parol evidence).




4
  The 2006 Agreement Defines the WSPO as “Property Owners”, and the WSPO
are referred to as Property Owners throughout that document.

                                                                                     7
        Case: 19-3582     Document: 75     Page: 17     Date Filed: 02/15/2022




         Paragraph 1, of the 2006 Agreement specifically states that WSPO and

Dring settle all claims where the settlement between Dring and ALO is partial, with

some claims preserved.5 Paragraph 3 states the following:


             3. Dring/Asaro agree to execute and deliver to ALO a quit
             claim deed of all of their right, title and interest in and to
             the North Strip, subject to a permanent easement to be
             granted in favor of the Property owners for access over the
             North Strip and to maintain docks and/or boathouses on
             the North Strip. This permanent easement is not intended
             to grant the Property Owners any rights in or over any
             lands owned by ALO, or any interest in lake Ariel owned
             by ALO. […] Dring/Asaro warrant and represent that
             they have not permitted any mortgages or other liens on
             the North Strip, and that there are no outstanding
             judgments against them.

(Emphasis supplied.) (App. 86, 2006 Agreement, ¶ 3).

      The foregoing Paragraph 3 specifically states that Dring agreed to execute and

deliver a quit claim deed to ALO, and that said deed would be subject to a permanent

easement to be granted in favor of the WSPO. The WSPO admit that “the intention

of Section 3 of the Settlement Agreement was that the easement in favor of the

Property Owners was to be created in the quit claim deed to be delivered to ALO for

the North Strip of West Shore Strip.” (App. 5, Mem. Op. at p. 5, App. 86, 2006

Agreement at ¶ 3, App. 465-468, SOF at ¶ 13, and App. 933 Resp. SOF ¶ 1-13). The



5
 Paragraph 2, inter alia, describes the portion of the West Shore Strip to be
conveyed to ALO under Paragraph 3.

                                                                                  8
            Case: 19-3582   Document: 75    Page: 18    Date Filed: 02/15/2022




2006 Agreement did not and does not and was never intended to require Dring to

grant an easement directly to the WSPO. (Id.)

       In response to the Motion for Summary Judgment below, WSPO admitted the

first 13 Paragraphs of Dring’s Statement of Facts without qualification. Paragraph

13 of Dring’s Statement of Facts includes the following, all of which is completely

admitted by WSPO:

                13. In his deposition on September 19, 2016, Mr.
                O'Brien acknowledged that he represented both ALO and
                the Property Owners (App. 496, O'Brien deposition,
                page 11, lines 8 through 11) and that the Property Owners
                were bound by the Settlement Agreement as negotiated by
                his firm. (App. 493, O'Brien deposition, page 14, lines 3
                through 25). Mr. O'Brien admitted that the intention of
                Section 3 of the Settlement Agreement was that the
                easement in favor of the Property Owners was to be
                created in the quit claim deed to be delivered to ALO
                for the North Strip of West Shore Strip. (App. 496—
                495 O'Brien deposition, page 34, lines 21 through 25, page
                35, lines 1 through 25, page 36, lines 1 through 25, and
                page 37, lines 1 through 15). He further admitted that
                Section 15 provides that the parties were to exchange
                the deeds and instruments provided for in the
                Settlement Agreement at the same time. (App. 500,
                O'Brien deposition, page 55, lines 16 through 25, and page
                56, lines 1 through 3).
(See App. 468, SOF at ¶ 13, See also, App. 933, Resp. SOF and App. 5, Mem. Op.

at p. 5).

       Paragraph 5 of the 2006 Agreement states, in part, that “ALO shall execute

and deliver to Dring/Asaro instruments of conveyance, in recordable form, which



                                                                                 9
        Case: 19-3582     Document: 75     Page: 19    Date Filed: 02/15/2022




transfer to Dring/Asaro the following: (a) Four (4) lake rights… (b) a permanent

easement over the water and parcel of land […] at the end of Cardinal Lane…”

(App. 86-87, 2006 Agreement, ¶ 5).         Thus, Dring was to receive recordable

instruments granting four lake rights and an easement over the Cardinal Lane

property for the purposes of, inter alia, a dock and parking. (Id.; see also App. 465-

468, SOF and App. 933 Resp. SOF). In addition, Paragraph 5 states that with regard

to the Cardinal Lane easement “ALO warrants that it has good and marketable title

[…], and the right to grant this easement.” (App. 86-87, 2006 Agreement, ¶ 5).

Likewise, with regard to the West Shore Strip, in Paragraph 3 Dring “warrant and

represent that they have not permitted any mortgages or other lines on the […] Strip,

and that there are no outstanding judgments against them.”           (App. 86 2006

Agreement, ¶ 3).

Paragraph 15 of the 2006 Agreement states the following:

             15. All Deeds and other instruments referred to herein
             shall be exchanged by the parties at a mutually
             convenience [sic] time within 30 days after obtaining the
             subdivision approval set forth in Section 2 hereof.

(emphasis supplied.) ( Id. at App. 89 at ¶ 15).

      The revision in 2007, does not change the requirement that all deeds and other

instruments referred to in the 2006 Agreement shall be exchanged at a mutually

convenient time. (See App. 92, 2007 Amendment). The WSPO admit the

conclusively established fact that the 2006 Agreement and the intent behind the 2006

                                                                                   10
        Case: 19-3582    Document: 75    Page: 20     Date Filed: 02/15/2022




Agreement, pursuant to Paragraph 15, was that ALO and Dring were to exchange

the deeds and instruments provided for in the 2006 Agreement at the same time.

(App. 468, SOF; see also, App. 933 Resp. SOF, and App. 5, Mem. Op. at p. 5).

      The only deeds and instruments that the parties were required to exchange

were (1) deed from Dring to ALO, (2) recordable instrument conveying lake rights

from ALO to Dring, and (3) recordable easement over the Cardinal Lane property

from ALO in to Dring. The 2006 Agreement does not contain any reference to any

instruments or deeds to be conveyed by Dring directly to WSPO. This is a fact

conclusively established by admission. (App. 1-9, Mem. Op. 1-9).

      Only after Dring I resolved, did ALO reveal to Dring that it did not have title

to Cardinal Lane, and therefore could not execute and deliver to Dring instruments

of conveyance, in recordable form, which transfer to Dring an easement over

Cardinal Lane. This resulted in a suit by Dring against ALO styled, Dring v. Ariel

Land Owners, Inc. , No. 3:15-CV-00478- ARC (“Dring II”). (App. 1-9, Mem. Op.

1-9, and Dring v. Ariel Land Owners, Inc., No. 3:15-CV-00478, 2018 WL 3934623,

(M.D. Pa. Aug. 16, 2018), aff'd on other grounds, 782 F. App'x 133 (3d Cir. 2019)).

      In Dring II, Judge Caputo held that ALO repudiated the 2006 Agreement, and

stated the following:

             Based on (1) the statements of O'Brien, (2) ALO's failure
             to obtain marketable title to Cardinal Lane, (3) ALO's
             failure to provide assurances, and (4) ALO's failure to
             attend the closing, I will conclude that ALO made clear

                                                                                  11
         Case: 19-3582   Document: 75     Page: 21     Date Filed: 02/15/2022




             that it would not perform under the Settlement Agreement.
             Therefore, I find the ALO repudiated the Settlement
             Agreement.

      Dring v. Ariel Land Owners, Inc., No. 3:15-CV-00478, 2018 WL 3934623, at

*8 (M.D. Pa. Aug. 16, 2018), aff'd on other grounds, 782 F. App'x 133 (3d Cir.

2019).

      In the matter presently before this Court Judge Caputo’s Oct. 10, 2018,

Memorandum Opinion, reiterated the facts concerning ALO’s lack of title to

Cardinal Lane and stated, in part, the following:

                   At the time of formation of the settlement
             agreement, ALO (if not all parties to the settlement)
             believed it had good title to Cardinal Lane. ALO received
             the deed to the property from the Swingles, which was
             dated January 12, 2004 and recorded in Wayne County
             soon thereafter. (Doc. 64 at ¶ 17; Doc. 75 at ¶ 17).
             However, the Swingles conveyed the same property to the
             Culottas via a deed dated February 11, 2002 and recorded
             in Wayne County on the same date. Joseph O'Brien
             admitted to Dring's counsel on November 8, 2013 that
             “ALO's ability to convey the Cardinal Lane easement had
             been challenged.” (Doc. 75 at ¶ 22). Since then, the Court
             of Common Pleas of Wayne County has determined that
             the Culottas have title to Cardinal Lane, not ALO. (Doc.
             94-2 at 7-8). It seems that the Culottas are unwilling to
             negotiate with ALO. (Doc. 75 at ¶ 22).


(App. 2, Mem. Op. at p. 2).

      The District Court further held in both Dring II and the matter before the Court

that Dring’s performance of its obligations to ALO under the 2006 Agreement was



                                                                                   12
        Case: 19-3582    Document: 75     Page: 22     Date Filed: 02/15/2022




completely excused by the repudiation. (App. 3, 5-6, Mem. Op. at p. 3, 5-6, and

Dring v. Ariel Land Owners, Inc., No. 3:15-CV-00478, 2018 WL 3934623, (M.D.

Pa. Aug. 16, 2018), aff'd on other grounds, 782 F. App'x 133 (3d Cir. 2019)).

      Moreover, given the simultaneous exchange requirement under Paragraph 15,

as admitted by WSPO through their counsel Joseph O’Brien, the duty to deliver the

deed to the ALO subject to an easement in favor of the WSPO never arose at all,

because of the repudiation by ALO.

            While Sections 15 and 3 of the agreement were ambiguous
            before, Joseph O'Brien's testimony and the Property
            Owners' admissions make the agreement, and the parties'
            intent, clear. Performances were to be exchanged
            simultaneously under Section 15, with the exception of
            Dring's obligation to obtain subdivision approval. And
            under Section 3, title to the North Strip and the
            Property Owners' easements were to be conveyed in
            the same instrument, despite the Property Owners'
            contention that James Gillotti (another attorney who
            helped draft the settlement agreement) indicated “that the
            preferred way to consummate the transfer of the various
            interests in the west shore strip would be by separate
            deeds.” (Doc. 76 at 13). Gillotti's testimony does not create
            a genuine dispute: the fact that separate deeds would be
            the “preferred way” to transfer property rights does not
            mean the settlement agreement permits such an
            arrangement. See Matsushita Elec. Indus. Co. v. Zenith
            Radio Corp., 475 U.S. 574, 586-87, 106 S.Ct. 1348, 89
            L.Ed.2d 538 (1986) (non-movant “must do more than
            simply show that there is some metaphysical doubt as to
            the material facts”).




                                                                                13
           Case: 19-3582   Document: 75    Page: 23    Date Filed: 02/15/2022




      (App. 3, 5-6, Mem. Op. at p. 3, 5-6).6

      In the instant appeal, the WSPO do not even seem to be challenging the factual

determination that the 2006 Agreement required simultaneous exchange. Likewise,

the WSPO seem to be ignoring the reasoning behind Judge Caputo’s holdings in the

Mem. Op. and instead invent new legal theories on appeal.

      The 2006 Agreement contains a mutual release between WSPO and Dring.

This release is contained in Paragraph 6 of the 2006 Agreement, which reads as

follows:

               6. The Property Owners on the one hand; and Dring/Asaro
               on the other hand do hereby release the other party and
               such party’s predecessors in title, successors and assigns
               from any and all claims arising out of or relating to the
               Lawsuit and the Western Shore Strip including but not
               limited to claims for compensatory damages, punitive
               damages, trespass, attorneys fees, or costs of this court.

(App. 88, 2006 Agreement, ¶ 6) 7

6
  It should be noted here that the WSPO have abandoned the argument regarding
Gillotti's testimony on appeal and WSPO have not addressed Gillotti's testimony at
all in the legal arguments briefed on appeal.
7
  It should be noted that unlike the claims released by the WSPO there was a
reservation of the right to make future claims in favor of Dring contained in
Paragraph 9, which reads as follows:
               9. All claims against the Property owners set forth in
               the Third Amended Counterclaim will be dismissed
               with prejudice. All claims asserted in the action pending
               in the Court of Common Pleas of the 22nd Judicial District,
               Commonwealth of Pennsylvania, Wayne County, Docket
               No. 246-2002 CV are hereby released, except to the extent
               any of such claims are preserved under the next sentence,
               and the parties agree that any claims preserved under the

                                                                                 14
       Case: 19-3582    Document: 75    Page: 24     Date Filed: 02/15/2022




     The foregoing release language was the basis for the District Court’s dismissal

of the WSPO’s prescriptive easement claim. The Court held that the foregoing

language is unambiguous:

           Here, the language of the release is clear and
           unambiguous: Section 6 of the agreement provides that
           “[t]he Property Owners on the one hand; and Dring/Asaro
           on the other hand hereby release the other party ... from
           any and all claims arising out of or relating to the Lawsuit
           and the Western Shore Strip including but not limited to
           claims for [damages], trespass, attorneys fees, or costs of
           court.” (Doc. 64-1 at 4). The Property Owners claim
           prescriptive easements over the Western Shore Strip,
           (Doc. 22 at 22-43), which are claims “relating to” the
           Western Shore Strip. And the broadness of the language
           “any and all claims” and “including but not limited to”
           further supports the conclusion that prescriptive easement
           claims are covered under the release.



           next sentence are not barred by this release. Except for the
           issues referred to in Section 7 hereof, the remaining
           claims of ALO set forth in the Third Amended Complaint
           and the remaining claims of Dring/Asaro against ALO set
           forth in the Third Amended Counterclaim and the defenses
           raised by ALO and Dring/Asaro are preserved for trial.
           Nothing in this Agreement shall constitute an admission
           or acknowledgement as to, or evidence of, the title of ALO
           or Dring/Asaro to any property, or the boundary line of
           any property owned by ALO or Dring/Asaro. This
           agreement shall not constitute a bar against or release
           of any existing or future rights, claims or causes of
           action held by or accruing in favor of Dring/Asaro,
           except to the extent specifically released or to be
           dismissed as provided by this Agreement.



                                                                                 15
        Case: 19-3582    Document: 75    Page: 25     Date Filed: 02/15/2022




            The Property Owners' remaining arguments—failure of
            consideration and equitable estoppel—are also unavailing.

(App. 7-8, Mem. Op. at p. 7-8).

      Finally, Paragraph 14 of the 2006 Agreement permits the prevailing party to

recover attorneys’ fees, and that is exactly what happened in the matter below.

Paragraph 14 states the following:

            14. The United States District Court for the Middle District of
            Pennsylvania shall have exclusive jurisdiction over any action or
            proceeding involving the interpretation or breach of this Agreement,
            and the parties hereto submit to the personal jurisdiction of such Court.
            The prevailing party in any such action shall be entitled to recover
            reasonable attorney’s fees from the other party.

      (App. 9, 2006 Agreement ¶ 14). Dring is the prevailing party and pursuant

Paragraph 14 the District Court awarded attorney’s fees.


   C. FACTS CONCERNING THE CREATION, INTENT, AND MEANING OF
      THE 2006 AGREEMENT CONCLUSIVELY ESTABLISHED AND
      ADMITTED BY WSPO.

      The following facts have been admitted by Appellants and are conclusively

established and irrefutable. (App. 2, 4-6, Mem. Op. at p. 2, 4-6, and See, App. 465-

468, SOF ¶¶ 1-13 and App. 933, Resp. SOF – admitting without qualification each

and every one of the Paragraphs 1-13 to the SOF). The WSPO unequivocally admit

the following:

            1.    During the course of the trial of the matter entitled
            Ariel Land Owners, Inc. v. Lori Dring and Nancy Asaro,
            United States District Court, Middle District of

                                                                                  16
Case: 19-3582    Document: 75     Page: 26     Date Filed: 02/15/2022




    Pennsylvania, Docket No.: 3-0 l-CV-0294, a partial
    settlement of the issues between the parties was agreed
    upon by the parties, which resulted in a written Settlement
    Agreement executed on August 28, 2006, by and between
    the "Property Owners," Ariel Land Owners, Inc. ("ALO"),
    and Dring/Asaro, a true copy of which is annexed hereto
    as Exhibit" l" (the "Settlement Agreement").
    2.     The Settlement Agreement was amended by the
    parties on August 21, 2007 and a true copy of the
    Amendment to Settlement Agreement (the "Amendment")
    is annexed hereto as Exhibit "2."
    3.     Section 3 of the Settlement Agreement provides that
    "Dring/Asaro agree to execute and deliver to ALO a quit
    claim deed of all of their right, title and interest in and to
    the North Strip, subject to a permanent easement to be
    granted in favor of the Property Owners for access over
    the North Strip and to maintain docks and/or boathouses
    on the North Strip."
    4.     Section 5 of the Settlement Agreement requires that
    ALO "shall execute and deliver to Dring/Asaro
    instruments of conveyance, in recordable form," in favor
    of Dring/Asaro, transferring four lake rights and a
    permanent easement over a parcel of land known as
    Cardinal Lane located at the eastern shore of Lake Ariel,
    described as a rectangular parcel of land of approximately
    thirty feet in width along the shoreline and two hundred
    feet in depth above the shore line (the "Dock Area"). The
    easement was to permit Dring/Asaro to construct and
    maintain a dock for the dockage of four boats; to permit
    the parking of four automobiles on Cardinal Lane; and for
    storage of removable dock sections on Cardinal Lane.
    5.     In Section 5(b) of the Settlement Agreement, ALO
    warranted to Dring/Asaro that ALO had good and
    marketable title to the Dock Area, and the right to grant
    the above described easement to Dring/Asaro.
    6.     Section 6 of the Settlement Agreement provides that
    "The Property Owners on the one hand; and Dring/Asaro
    on the other hand do hereby release the other party and
    such party's predecessors in title, successors and assigns
    from any and all claims arising out of or relating to the

                                                                        17
Case: 19-3582   Document: 75     Page: 27     Date Filed: 02/15/2022




    Lawsuit and the Western Shore Strip including but not
    limited to claims for compensatory damages, punitive
    damages, trespass, attorneys' fees, or costs of court."
    7.      Section 8 of the Settlement Agreement specifically
    excepts only the rights and obligations of the parties under
    the Settlement Agreement from the terms of the release.
    8.      Section 13 of the Settlement Agreement provides
    that it shall be construed and interpreted under the laws of
    the Commonwealth of Pennsylvania.
    9.      Section 15 of the Settlement Agreement provides
    that "[a]ll Deeds and other instruments referred to herein
    shall be exchanged by the parties at a mutually
    convenience (sic) time within 30 days after obtaining the
    subdivision approval set forth in Section 2 hereof."
    10. The Settlement Agreement was signed by Joseph A.
    O'Brien, Esquire, as counsel to both ALO and the Property
    Owners.
    11. The Amendment provides that Section 15 of the
    Settlement Agreement is deleted and replaced with the
    following: "...All deeds and other instruments referred to
    herein shall be exchanged by the parties at a mutually
    convenient time within thirty (30) days after obtaining the
    subdivision approval."
    12. The Amendment was also signed by Joseph A.
    O'Brien, Esquire, as counsel to both ALO and the Property
    Owners.
    13. In his deposition on September 19, 2016, Mr.
    O'Brien acknowledged that he represented both ALO and
    the Property Owners (O'Brien deposition, page 11, lines
    8 through 11) and that the Property Owners were bound
    by the Settlement Agreement as negotiated by his firm.
    (O'Brien deposition, page 14, lines 3 through 25). Mr.
    O'Brien admitted that the intention of Section 3 of the
    Settlement Agreement was that the easement in favor of
    the Property Owners was to be created in the quit claim
    deed to be delivered to ALO for the North Strip of West
    Shore Strip. (O'Brien deposition, page 34, lines 21 through
    25, page 35, lines 1 through 25, page 36, lines 1 through
    25, and page 37, lines 1 through 15). He further admitted
    that Section 15 provides that the parties were to exchange

                                                                       18
           Case: 19-3582   Document: 75    Page: 28    Date Filed: 02/15/2022




               the deeds and instruments provided for in the Settlement
               Agreement at the same time. (O'Brien deposition, page
               55, lines 16 through 25, and page 56, lines 1 through 3).
               The relevant passages from the O'Brien deposition are
               annexed hereto as Exhibit "3."

   (Id.)

      On October 10, 2018, Judge Caputo specifically ruled that in his deposition

on September 19, 2016, Mr. O'Brien acknowledged that he represented both ALO

and the Property Owners (See App. 492, lines 8 through 11) and that the WSPO

were bound by the 2006 Agreement as negotiated by his firm. (See App. 493, lines

3 through 25). Mr. O'Brien admitted that the intention of Paragraph 3 of the 2006

Agreement was that the easement in favor of the WSPOs was to be created in the

quit claim deed to be delivered to ALO for the North Strip of West Shore Strip. (See

App. 496, lines 21 through 25, App. 497, lines 1 through 25, App. 498, lines 1

through 25, and App. 499, lines 1 through 15). He further admitted that Paragraph

15 provides that the parties were to exchange the deeds and instruments provided for

in the 2006 Agreement at the same time. (See App. 500, lines 16 through 25, and

App. 501, lines 1 through 3). The foregoing admissions served as the basis for (1)

determination that the 2006 Agreement did not require that Dring provide an

easement directly to the WSPO and that WSPO was bound by its release of claims

negotiated by Mr. Obrien. (App. 1-9, Mem. Op. at p. 1-9).




                                                                                 19
        Case: 19-3582     Document: 75    Page: 29    Date Filed: 02/15/2022




   Based on the record below, Judge Caputo correctly granted Summary Judgement

in favor of Dring.

                                    ARGUMENT

   A. THE DISTRICT COURT PROPERLY HELD THAT DRING HAS NOT
      RECEIVED THE INSTRUMENTS OF CONVEYANCE THAT SHE WAS
      ENTITLED TO AND, THEREFORE, IS NOT OBLIGATED TO DELIVER
      A QUITCLAIM DEED SUBJECT TO A PERMANENT EASEMENT IN
      FAVOR OF WSPO, AND THIS HOLDING WAS NOT BASED UPON THE
      DOCTRINE OF FUTILITY ALONE, BUT RATHER THE SPECIFIC
      OBLIGATIONS CREATED BY THE 2006 AGREEMENT.

   The 2006 Agreement does not require Dring to convey an easement directly to

WSPO. Dring’s only obligation was to convey to ALO a quit claim deed subject to

an easement in favor of the WSPO under Paragraph 3. (See generally App. 86, App.

465-468 at ¶ 1-13 (SOF) and App. 933 (Response to SOF). WSPO admit without

qualification, the following:


             13. In his deposition on September 19, 2016, Mr.
             O'Brien acknowledged that he represented both ALO and
             the Property Owners (O'Brien deposition, page 11, lines
             8 through 11) and that the Property Owners were bound
             by the Settlement Agreement as negotiated by his firm.
             (O'Brien deposition, page 14, lines 3 through 25). Mr.
             O'Brien admitted that the intention of Section 3 of the
             Settlement Agreement was that the easement in favor of
             the Property Owners was to be created in the quit claim
             deed to be delivered to ALO for the North Strip of West
             Shore Strip. (O'Brien deposition, page 34, lines 21 through
             25, page 35, lines 1 through 25, page 36, lines 1 through
             25, and page 37, lines 1 through 15). He further admitted
             that Section 15 provides that the parties were to exchange
             the deeds and instruments provided for in the Settlement

                                                                               20
          Case: 19-3582   Document: 75    Page: 30    Date Filed: 02/15/2022




              Agreement at the same time. (O'Brien deposition, page
              55, lines 16 through 25, and page 56, lines 1 through 3).
              The relevant passages from the O'Brien deposition are
              annexed hereto as Exhibit "3."

( Id. App. 468, SOF ¶13 and App. 933, Resp. SOF ¶1-13).

      However, as the District Court properly held Dring’s obligation to provide

said deed to ALO never arose, because Dring did not receive the instruments of

conveyance they were entitled to pursuant to Paragraph 5 of the 2006 Agreement.

(See App. 1-6, Mem. Op. p. 1-6). Likewise, ALO repudiated the 2006 Agreement.

Id.

      As admitted by the WSPO's counsel (who signed the 2006 Agreement and the

Amendment on behalf of the WSPO), and as repeatedly stated by the District Court

in the October 18, 2018, Mem. Op. subject to this appeal, the intention of Paragraph

3 was that the easement in favor of the WSPO was to be created in the quit claim

deed to be delivered to ALO, and all of the deeds and instruments provided for in

the 2006 Agreement were to be exchanged, at the same time, pursuant to Paragraph

15. (See App. 465-468, ¶¶ 3 through 5, 9 through 13 (SOF) ; and App. 933 at ¶¶ 3

through 5, 9 through 13 (Resp. SOF), and App. 86-92, 2006 Agreement and 2007

Amendment).8


      8
        An attorney's statement made within the scope of his authority is an
admission by the party he represents. See U.S. v. Catena, 500 F.2d 1319, 1327 (3d
Cir. 1974); Feld v. Primus Technologies Corp., 97 Fed. R. Evid. Serv. 777, 2015
WL 2357082 (M.D. 2015). See also Fed. R. Evid. 801(d)(2)(D). (A statement

                                                                                 21
        Case: 19-3582     Document: 75     Page: 31     Date Filed: 02/15/2022




      The District Court did not rely on the doctrine of futility to make the foregoing

factual determinations. The only mention of the doctrine of futility in the entirety of

the ten (10) page opinion subject to this appeal (App. 5-6, Mem. Op. 5-6) is provided

as background and incorporated by reference from the Opinion in Dring v. Ariel

Land Owners, Inc., No. 3:15-CV-00478, 2018 WL 3934623 (M.D. Pa. Aug. 16,

2018), aff'd on other grounds, 782 F. App'x 133 (3d Cir. 2019).

      “Futility” is not the sole basis or even the primary basis for the District Court’s

holding vis-à-vis the obligations created by the 2006 Agreement and more

importantly the obligations not created by the 2006 Agreement. Nevertheless, the

WSPO dedicate five (5) pages of their brief to arguing largely against a holding that

is not part of the District Court’s Opinion. This is simply an attempt to change the

subject and not a genuine challenge to the lower court’s holding.

      The word futile only appears twice in the entire opinion, and is contained in

the following excerpt:


             The most recent ruling concerning this dispute was my
             August 16, 2018 ruling in a related case between Dring
             and ALO. Dring v. Ariel Land Owners, Inc., No. 3:15-CV-
             00478, 2018 U.S. Dist. LEXIS 139141, 2018 WL 3934623

offered against the party and made by the party's agent or employee on a matter
within the scope of that relationship and while it existed is admissible against the
party). Even if the 2006 Agreement did provide for the conveyance of an easement
directly to the Property Owners, however, it would still be subject to the terms of the
Section 15.


                                                                                      22
        Case: 19-3582     Document: 75     Page: 32     Date Filed: 02/15/2022




             (M.D. Pa. Aug. 16, 2018). On cross-motions for summary
             judgment, I determined that while Dring had not yet
             performed on the settlement agreement by subdividing the
             Western Shore Strip, Dring was excused from doing so
             because ALO had repudiated the agreement by, among
             other things, failing to obtain marketable title to Cardinal
             Lane. 2018 U.S. Dist. LEXIS 139141, [WL] at *7-8.
             ALO's repudiation, I held, "made it futile for Dring . . . to
             satisfy the condition precedent" of subdividing the
             Western Shore Strip into the North Strip and South Strip.
             2018 U.S. Dist. LEXIS 139141, [WL] at *8. As such,
             Dring is "shielded from a claim that [she] breached the
             Settlement Agreement[,] because it would have been futile
             to satisfy the condition precedent." Id. I also held that
             Dring could not pursue a breach of contract claim against
             ALO because Dring's failure to subdivide the Western
             Shore Strip was not caused by ALO's repudiation. Id.


(App. 5-6, Mem. Op. at p. 5-6).

The District Court did, however, hold first that:

             …ALO's repudiation of the agreement ‘discharges
             [Dring's] remaining duties to render performance.’
             Restatement (Second) of Contracts § 253(2) (1981). It
             logically follows that if Dring is excused from subdividing
             the Western Shore Strip into the North Strip and South
             Strip, she is also excused from delivering to ALO a deed
             to the North Strip subject to an easement to be granted in
             favor of the Property Owners.

(App. 5-6, Mem. Op. at p. 5-6)

      Restatement (Second) of Contracts § 253(2) (1981), states following:

             Effect of a Repudiation as a Breach and on Other Party's
             Duties
             (1)



                                                                                 23
        Case: 19-3582    Document: 75     Page: 33    Date Filed: 02/15/2022




             (2) Where performances are to be exchanged under an
             exchange of promises, one party's repudiation of a duty to
             render performance discharges the other party's remaining
             duties to render performance.

      Restatement (Second) of Contracts § 253(2) (1981)

      The District Court clearly and properly determined that (a) the 2006

Agreement required Dring to deed a portion of the strip to ALO and that the deed to

ALO was to be made subject to easements in favor of WSPO; (b) the ALO in a

separate instrument was to deed an easement over Cardinal Lane to Dring; (c) ALO

by separate instrument was to provide Dring with 4 lake rights; (d) ultimately, years

after the 2006 Agreement was signed, ALO determined that it could not and would

not be able to grant an easement over Cardinal Lane, because it did not own Cardinal

Lane, though it warranted title to same in Paragraph 5 of the 2006 Agreement; (e)

ALO told Dring that it lacked title to and the ability to grant an easement over

Cardinal Lane; (f) the deed from Dring to ALO for the strip and the easement to

Dring from ALO for Cardinal Lane, and the documents granting Dring the 4 Lake

Rights were all to be exchanged simultaneously; (g) the breach and inability to

perform by ALO excused the requirement that Dring grant the ALO a deed over the

strip; (h) WSPO admitted that the 2006 Agreement and the intent of the 2006

Agreement did not require Dring to directly grant easements to the WSPO; and (i)

given the requirement of simultaneous exchange of documents and instruments any




                                                                                  24
        Case: 19-3582     Document: 75      Page: 34     Date Filed: 02/15/2022




obligation vis-à-vis the deed to ALO containing easements in favor WSPO cannot

and will never arise. (See generally, App, 1-9, Mem. Op.).

      These facts, as set forth by the District Court led to the above stated holding

that (1) repudiation by ALO excused and extinguished Dring’s obligation to grant

the deed to ALO; and (2) the District Court also held that:


             Second, Dring's duty to perform is excused under the
             constructive condition of exchange, which provides
             "substantial performance of one party's obligations under
             a contract is deemed an implied condition to the other
             party's duty to perform under the contract." Marsa v.
             Metrobank for Sav., F.S.B., 825 F. Supp. 658, 665 n.7
             (D.N.J. 1993) (citing E.A. Farnsworth, Contracts, § 8.9
             (2d ed. 1990)). Under this doctrine, ALO's failure to
             substantially perform means the implied condition to
             Dring's duty to perform has not been triggered. Either way,
             Dring's Section 3 obligations have been excused because
             of ALO's breach.

      (App. 6-7, Mem. Op. 6-7).

      Despite all of the foregoing analysis and detail by the District Court, the

Appellants somehow, found it possible to include this statement in their Brief before

this Honorable Court: “But the District Court did not explain how ALO’s purported

repudiation which excused Dring from subdividing the West Shore Strip, also

justified Dring’s failure to grant the West Shore Property Owners an easement over

the North Strip.” (App. Brief at p. 22, App. D.E. 63 at p. 32). In Dring II, the District

Court held that (a) Dring was excused from granting a deed to ALO because ALO



                                                                                      25
        Case: 19-3582    Document: 75    Page: 35    Date Filed: 02/15/2022




repudiated, but (b) Dring could not pursue contractual damages against ALO for

ALO’s breach by repudiation, because Dring had not satisfied the condition

precedent (subdivision of the strip) that would have allowed Dring to compel

performance or seek damages from ALO. See Dring v. Ariel Land Owners, Inc., No.

3:15-CV-00478, 2018 WL 3934623 (M.D. Pa. Aug. 16, 2018), aff'd on other

grounds, 782 F. App'x 133 (3d Cir. 2019).

      The sole and exclusive agreed upon method for the creation of the easement

in favor of WSPO was by quitclaim deed to ALO subject to easements in favor of

WSPO. Thus, the District Court held, in part, the following:


            … I cannot rewrite the agreement to shift the forfeiture
            from the Property Owners to Dring when ALO is the only
            party in breach.

(App. 5-6, Mem. Op. at p. 5-6).

      The District Court was correct, in could not rewrite the 2006 Agreement. It is

respectfully submitted that this Court should not rewrite the 2006 Agreement either.


   B. THE COURT BELOW PROPERLY DETERMINED THAT THE WSPO DO
      NOT HAVE A PRESCRIPTIVE EASEMENT CLAIM, BECAUSE THE
      RELEASE OF A CLAIM FOR PRESCRIPTIVE EASEMENTS IS
      BINDING ON THE WSPO.

           i.   WSPO Did Not Raise The Issue Or Legal Theory Of Mutual
                Releases Creating A De Facto Easement Before The District Court
                Below, And Are Prohibited From Raising This New Legal Theory
                On Appeal.



                                                                                 26
        Case: 19-3582     Document: 75     Page: 36    Date Filed: 02/15/2022




      The so-called “effective easement” or “de facto easement” argument

contained for the first time in WSPO’s Appellate Brief does not exist below. At no

point in the history of the proceedings prior to Judge Caputo’s decision on October

10, 2018 or in the prevailing party/legal fees briefing that followed, did WSPO even

suggest, let alone raise the theory, that WSPO’s release of Dring or Dring’s release

created a “de facto easement.” Put another way, for the years that this matter was

litigated in the District Court prior to the instant appeal, at no point did WSPO argue

that the release language by which WSPO released all claims for prescriptive

easements, somehow created a “de facto easement,” only of course, according to

WSPO’s argument, when read in conjunction with the release from Dring.

      WSPO did not make this argument below, at all, and therefore it is not

properly before this Court on appeal. Why didn’t WSPO make this argument below?

First, WSPO did not make this argument below, because it makes no sense. Second,

WSPO did not make this argument below, because Count II of the WSPO’s operative

Complaint was for prescriptive easements over the strip. (See generally, App. 314-

357, Pls.’ Amend. Complaint). Count I of WSPO’s operative Complaint sought to

compel Dring to grant express easements in favor of WSPO. (Id.)

      It is respectfully submitted, that if the 2006 Agreement created an undefined

“easement” in and of itself, then there would have been no need for WSPO to bring

a claim for prescriptive easements or to attempt to compel the grant of express



                                                                                    27
        Case: 19-3582    Document: 75     Page: 37     Date Filed: 02/15/2022




easements. Nevertheless, this argument simply is not properly before this Honorable

Court, because it was never raised by the Appellants before the District Court.

Rather, below, the WSPO argued that there was no release at all; that Dring was

estopped from enforcing the release; that Dring failed to plead release as a defense;

and/or that enforcing the release would result in a disproportionate forfeiture. (See

App. 955-958, Defendant’s Brief in Opposition to Summary Judgment). The District

Court universally rejected each argument actually raised by the WSPO in opposition

to Dring’s Motion for Summary Judgment below. (App. 6-9, Mem. Op. at p. 6-9).

      This Court has consistently held that it will not consider issues that are raised

for the first time on appeal. In Newark Morning Ledger Co. v. United States, 539

F.2d 929, 932 (3d Cir. 1976), this Honorable Court held as follows:


             We generally refuse to consider issues that are raised for
             the first time on appeal. Sachanko v. Gill, 388 F.2d 859,
             861 (3d Cir. 1968); Tromza v. Tecumseh Products Co.,
             378 F.2d 601, 604 (3d Cir. 1967); Mirkowicz v. Reading
             Co., 84 F.2d 537, 538 (3d Cir. 1936). We are familiar with
             the position of the Supreme Court that in horrendous cases
             where a gross miscarriage of justice would occur, the
             practice should be relaxed. Hormel v. Helvering, 312 U.S.
             552, 61 S.Ct. 719, 85 L.Ed. 1037 (1940). But this is not
             such a case. Not only did the [Appellant], in pursuing its
             summary judgment, fail to raise the new theory it now
             proposes, but it also failed to raise it in defense of the
             [Appellees’] motion for summary judgment.

Newark Morning Ledger Co. v. United States, 539 F.2d 929, 932 (3d Cir. 1976).




                                                                                    28
        Case: 19-3582     Document: 75     Page: 38    Date Filed: 02/15/2022




      Judge Caputo ruled on the Motion for Summary Judgment based on the record

before the District Court. Judge Caputo did not consider and did not rule on the

theory now espoused by the WSPO for the first time on appeal. As such, this is not

a theory properly before this Honorable Court. See, e.g., Harris v. City of

Philadelphia, 35 F.3d 840, 845 (3d Cir. 1994); citing, Pritzker v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 7 F.3d 1110, 1115 (3d Cir.1993); In re American

Biomaterials Corp., 954 F.2d 919, 927–28 (3d. Cir.1992); Frank v. Colt Industries,

Inc., 910 F.2d 90, 100 (3d Cir.1990); Flick v. Borg–Warner Corp., 892 F.2d 285,

287–88 (3d Cir.1989); Newark Morning Ledger Co. v. United States, 539 F.2d 929,

932 (3d Cir.1976).

      Moreover, as is the case here, this general rule applies with greater force

where the timely raising of such an issue would have permitted the parties to address

this argument and related facts below. American Biomaterials, 954 F.2d at 927–28.

      Indeed the application of the rule prohibiting new theories on appeal is

routinely approved by the Supreme Court. The Supreme Court has explained that

said rule is “essential in order that parties may have the opportunity to offer all the

evidence they believe relevant to the issues ... [and] in order that litigants may not

be surprised on appeal by final decision there of issues upon which they have had no

opportunity to introduce evidence.” Hormel v. Helvering, 312 U.S. 552, 556, 61

S.Ct. 719, 721, 85 L.Ed. 1037 (1941); see also Singleton v. Wulff, 428 U.S. 106,



                                                                                    29
        Case: 19-3582    Document: 75     Page: 39    Date Filed: 02/15/2022




120, 96 S.Ct. 2868, 2877, 49 L.Ed.2d 826 (1976) (noting that, when an argument

was raised for the first time on appeal, “[w]e have no idea what evidence, if any

petitioner would, or could, offer in defense [of the argument].”). Harris v. City of

Philadelphia, 35 F.3d 840, 845 (3d Cir. 1994).

       ii.   The WSPO Fail To Cite Any Legal Authority That Supports The “De
             Facto Easement” Theory Because None Exists, And Instead WSPO
             Cite Inapposite Authority That Undermines Their Arguments.

      The cases cited by WSPO between page 24 and 28 of Appellants’ Brief are

inapposite to the matter presently before the Court. [Ap. D.E. 63 at p. 34-38]. Worse

yet, none of those cases supports or even relates to the “de facto easement” theory

that WSPO have cooked up on appeal. For example, WSPO offer the following

quote from Widmer Eng’g, Inc. v. Dufalla, 837 A.2d 459 (Pa. Super. Ct. 2003)

“When performance of a duty under a contract is due, any nonperformance is a

breach.” (App. Brief, App. D.E. 63 at p. 34-38).

      Here, the District Court expressly held that the 2006 Agreement contains no

language or provision that required Dring to deliver a written easement directly to

WSPO. The District Court found, as supported ad nauseam by the testimony of

Joseph O’Brien, Esquire, that the 2006 Agreement required Dring to grant a deed

to ALO, subject to easements in favor of WSPO, where the easements were

contained directly in the deed to ALO. However, (a) Dring’s obligation to deliver

the deed to ALO was excused by ALO’s repudiation of its obligations under the



                                                                                  30
        Case: 19-3582     Document: 75     Page: 40    Date Filed: 02/15/2022




agreement; and (b) Dring’s obligation to deliver a deed to ALO was never triggered,

because all instruments were to be exchanged simultaneously. ALO did not own

Cardinal Lane and therefore could not make good on its obligations under the 2006

Agreement, which is a prerequisite of performance becoming “due” from Dring at

the contemplated simultaneous exchange. (See generally App. 1-9, Mem. Op.).

      WSPO cite True R.R. Assocs., L.P. v. Ames True Temper, Inc., 152 A.3d

324 (Pa. Super. Ct. 2016), as support for the proposition that “When a breach is

material, the other party can avoid its own contractual obligations under the

agreement.” (App. Brief, D.E. 63 at p. 36). However, this in no way supports the “de

facto easement” theory. Moreover, this rule supports the District Court’s holding

that Dring was not obligated to convey a deed to ALO. The deed to ALO is the only

deed or instrument that Dring was obligated to deliver to anyone under the 2006

Agreement, period.

      The District Court found that the release by Dring and the release by WSPO

satisfied the contractual obligation of each party to the other where WSPO and Dring

are concerned. (App. 8-9, Mem. Op. at p. 8-9). Contrary to the contention of WSPO

the District Court did not “decline to enforce the practical consequence of Dring’s

release of [her] sic trespass claims…” (App. Brief, D.E. 63 at p. 37). First, there was

no motion, claim or theory before the District Court by which WSPO claimed a right

to continue to cross the West Shore Strip on a “de facto easement” mutual release



                                                                                    31
        Case: 19-3582     Document: 75     Page: 41     Date Filed: 02/15/2022




theory. Second, and perhaps beyond the inquiry here, at no point did the District

Court determine the scope of the released trespass claims to be beyond those

trespasses that had accrued to the date of the signing of the document. The District

Court was never asked by WSPO to rule on the scope and nature of the release by

Dring in terms of time (when and what claims were released) or in terms of scope of

use (did the release of trespass claims encompass a release of any and all imaginable

use and/or occupation of the strip by the WSPO, and if not, what if any limitations

applied to the scope of the release). The District Court simply held that both parties

released claims and that the releases were adequate bilateral consideration. The

District Court held specifically that WSPO released the prescriptive easement claims

that they attempted to assert in the instant litigation. The District Court did not rule

that the trespass claims asserted in this 2015 action as a Counterclaim by Dring were

released under the 2006 Agreement.

      Below, the WSPO argued that equity barred the enforcement of the release of

their claims for prescriptive easements that were expressly released in the 2006

Agreement. Now, on appeal, WSPO change tack and cite federal question authority

(not Pennsylvania contract law or Pennsylvania law of equity) as somehow

supporting their claim that the this Honorable Court should ignore the record, ignore




                                                                                     32
        Case: 19-3582     Document: 75     Page: 42    Date Filed: 02/15/2022




the proper holding of the court below and simply command Dring to issue easements

to all of the WSPO forthwith.9

      Indeed, had all parties performed all obligations, following the transfer by

deed of the strip to ALO, there would have been no future or forward-looking

trespass claim to be made by Dring, or in this case Dring’s successor ALO, because

the contemplated deed was to include and be subject to an easement in favor of

WSPO.

      The District Court correctly held that WSPO cannot state a claim for

prescriptive easements because they released that claim under the 2006 Agreement.

The District Court held, in part:

                   Here, if anything, the Property Owners'
             consideration (their release) is directly apportioned to
             Dring's release, not Dring's conveyance to ALO of a deed
             subject to easements in the Property Owners' favor.

9
  Brown v. Bd. of Educ. of Topeka, Kan., 349 U.S. 294, 75 S. Ct. 753, 99 L. Ed.
1083 (1955) (“Brown II”), cited by WSPO, followed the landmark Supreme Court
holding in Brown v. Bd. of Ed. of Topeka, Shawnee Cty., Kan., 347 U.S. 483, 74 S.
Ct. 686, 98 L. Ed. 873 (1954)(“Brown I”). It is respectfully submitted that both of
these decisions are important to the constitutionally protected rights of all students
in the American public education system, and should be revered. However, neither
Brown II nor Brown I, have any bearing on the equitable principles that this Court
or the District Court need consider when interpreting a settlement agreement that
concerns property rights between private parties at a lake used for recreation by those
with nearby summer homes. Likewise, Mertens v. Hewitt Assocs., 508 U.S. 248,
250, 113 S. Ct. 2063, 2065, 124 L. Ed. 2d 161 (1993), is factually and legally
inapposite to the matter before this Court. While the facts and law of Mertens bear
no resemblance to the matters before this Court, it bears noting that the Supreme
Court declined to exercise these hypothetical equitable powers to simply invent a
new right not contained in a federal statute.

                                                                                    33
        Case: 19-3582       Document: 75   Page: 43     Date Filed: 02/15/2022




             Section 6 of the agreement begins: “The Property Owners
             on the one hand; and Dring/Asaro on the other hand do
             hereby release the other party ....” (Doc. 64-1 at 4). The
             only mention of the easements which the Property Owners
             seek is in Section 3 of the agreement, which provides that
             Dring deliver “to ALO a quit claim *340 deed ... to the
             North Strip, subject to a permanent easement to be granted
             in favor of the Property Owners ....” (Id. at 2). That
             provision cannot be reasonably read to require Dring to
             convey easements separately to the Property Owners in
             exchange for their release, especially considering it was
             the parties' undisputed intent that all property rights to the
             North Strip were to be conveyed in a single document.
             Accordingly, the settlement agreement cannot be severed
             in the way the Property Owners want it to be severed.


(App. 8-9, Mem. Op. at p. 8-9).

      It is respectfully submitted that this Honorable Court should affirm and not

disturb the District Court’s holding that WSPO released their claims for prescriptive

easements. Likewise, this Court should not make a factual or legal determination

concerning the release by Dring based on new arguments from Appellants raised for

the first time on appeal.

   C. DRING IS THE PREVAILING PARTY PURSUANT TO THE 2006
      AGREEMENT AND IS ENTITLED TO ATTORNEYS’ FEES AS RULED
      BY JUDGE CAPUTO

      Appellants argue that the attorneys’ fee award against them should be vacated

(1) because judgment should be entered in favor of the Appellants, the WSPOs; and

(2) even if the judgment is not entered in favor of WSPOs, Dring is not the

“prevailing party.” Specifically, Appellants cite to Federal Rule of Civil Procedure

                                                                                  34
        Case: 19-3582     Document: 75     Page: 44   Date Filed: 02/15/2022




41(a) for the voluntary dismissal of Dring’s trespass claim against the WSPOs which

Appellants argue acted as an adjudication on the merits, and therefore it is “less

clear” as to which party is the prevailing party.

      Appellees disagree with Appellants’ narrow interpretation of “prevailing” and

argue that Judge Caputo’s decision granting Appellees relief on their Motion for

Summary Judgment makes Dring the “prevailing party” under Pennsylvania law and

therefore, pursuant to the 2006 Agreement, it was proper to award Dring attorneys’

fees. Furthermore, Appellees argue, as they have previously, that the trespass action

dismissed by stipulation was not the same claim as that which was dismissed by the

previous action. The plain matter of fact is that Dring successfully defended against

all of the WSPOs claims, thereby prevailing on the main issues, and summary

judgment was entered in favor of Dring on all of the WSPOs claims.

      Settlement agreements are enforced in accordance with principles of contract

law. Krebs v. United Refining Co. of Pennsylvania, 893 A.2d 776, 783 (Pa. Super.

2006); Yaros v. Trustees of the Univ. of Pennsylvania, 742 A.2d 1118, 1122 (Pa.

Super. 1999). Contractual fee shifting provisions are to be construed in accordance

with their plain and ordinary meaning. Boro Constr., Inc. v. Ridley Sch. Dist., 992

A.2d 208, 220 (Pa. Cmwlth. 2010).

      Appellees were clearly entitled to reasonable attorneys’ fees and costs as they

were the prevailing party in the instant matter. Section 14 of the 2006 Agreement



                                                                                  35
        Case: 19-3582     Document: 75     Page: 45     Date Filed: 02/15/2022




states in part: “[t]he prevailing party in any such action shall be entitled to recover

reasonable attorney’s fees from the other party.” (App. 89, 2006 Agreement, § 4)

(emphasis added). In Profit Wize Mktg. v. Wiest, 812 A.2d 1270, 1274 (Pa. Super.

2002), the Pennsylvania Superior Court explained that “prevailing party”

is “commonly defined as ‘a party in whose favor a judgment is rendered, regardless

of the amount of damages awarded,’ ” further stating that “[w]hile this definition

encompasses those situations where a party receives less relief than was sought or

even nominal relief, its application is still limited to those circumstances where the

fact finder declares a winner and the court enters judgment in that party’s

favor.” Id. at 1275-76 (quoting Black’s Law Dictionary, 7th ed. at 1145).

      Moreover, a failure to recover on a counterclaim does not make the defendant

unable to recover its costs in defending an action. Burgess v. Senior, 64 Pa. D. & C.

167, 169 (Pa. Ct. Comm. Pl. 1945); Stahl et al. v. Erie Delivery Co., 31 Pa. D. & C.

429, 437 (Pa. Ct. Comm. Pl. 1937). Courts have considered defendants to be

prevailing parties despite the presence of counterclaims where plaintiffs are the

initial aggressor in the action and where the defendant’s counterclaims ought to be

tried, based on factual overlap, in the same action. Id.; see also Tyler v. O’Neill, 112

Fed.Appx. 158, 161-63 (3d Cir. 2004) (holding, in a federal context, that defendant

was still prevailing party where counterclaims involved the same issues as the claims

brought against the defendant).



                                                                                     36
        Case: 19-3582     Document: 75     Page: 46     Date Filed: 02/15/2022




      Here, Dring’s counterclaim dismissal does not negate the District Court’s

finding that Dring is the prevailing party regarding the defense of WSPO’s claims.

Thus, Dring is entitled to attorney’s fees. See Gardner v. Clark, 33 Pa. D. & C.3d

662, 664-665 (Pa. Ct. Comm. Pl. 1985) (holding that defendant was a prevailing

party for successfully getting claims dismissed on a motion for summary

judgment); Zavatchen v. RHF Holdings, Inc., 907 A.2d 607, 611(Pa. Super. Ct.

2006) (recognizing that prevailing on summary judgment could justify finding that

defendants were prevailing parties); see also Lynn v. Smith, 664 F.Supp. 929, 929-

30 (M.D. Pa. 1986) (holding that, federally, defendants can be prevailing parties if

they prevail on a motion for summary judgment). Further, the counterclaim brought

by Dring arose out of the same facts as the WSPO’s claims and will not disrupt the

finding that the Dring is the prevailing party.

      Appellants selectively quote Federal Rule of Civil Procedure 41(a)(1)(B) in

their brief10. The full text states: “[e]ffect. Unless the notice or stipulation states

otherwise, the dismissal is without prejudice.        But if the Plaintiff previously

dismissed any federal- or state-court action based on or including the same claim, a

notice of dismissal operates as an adjudication on the merits.” Fed. R. Civ. P. 41(a)



10
  This isn’t the first time Appellants have selectively cited Fed. R. Civ. P. 41(a) to
benefit themselves; Judge Caputo caught them doing the same thing in their Brief
in Opposition to Summary Judgment. This tactic didn’t work then and should not
work now. (See App. 19, Memo. Law Judge Caputo).

                                                                                    37
        Case: 19-3582     Document: 75      Page: 47   Date Filed: 02/15/2022




(emphasis added). Rule 41(a) does not state that a stipulation of dismissal shall

operate as an adjudication on the merits.

      Appellants’ argument regarding Rule 41(a) violates the spirit of the Rule.

Judge Caputo aptly took notice of the fact that “Rule 41(a)(1) was intended to

eliminate the annoying of a defendant by being summoned into court in successive

actions and then, if no settlement is arrived at, requiring him to permit the action to

be dismissed and another one commenced at leisure.” Cooter & Gell, 496 U.S. 384,

397 (1990) (internal quotations and citations omitted). (See also, App. 19, Memo.

Summ. Judg.). As Judge Caputo noted, Dring did not initiate the instant suit nor did

Dring endeavor to harass the WSPOs. The aim of Rule 41(a)(1) was to prevent

misuse of the judicial process which Dring clearly has not done.

      Appellees also erroneously contend that the previous lawsuit involved the

same trespass claim as Dring’s Counterclaim to the WSPOs’ Amended Complaint.

To the contrary, the trespass claims released by Dring pursuant to the 2006

Agreement were only those existing at that time; the 2006 Agreement did not release

future trespass claims. Dring’s Counterclaim was filed on December 23, 2015, more

than nine (9) years after the release of trespass claims in the 2006 Settlement

Agreement, and alleged, among other things, that the WSPOs “have traversed, and

continue to traverse upon Asaro/Dring’s property          without the permission of

Asaro/Dring,” constituting a “continuing and wrongful trespass upon and across the



                                                                                    38
         Case: 19-3582    Document: 75     Page: 48    Date Filed: 02/15/2022




property of Asaro/Dring.” (App. 400, Dring Counterclaim to WSPOs Amended

Compl.).

       Quite simply, the Counterclaim voluntarily dismissed by Dring without

prejudice in April 2019 (App. 11) was not the same claim as was dismissed pursuant

to the 2006 Agreement. Therefore, the voluntary dismissal of the Counterclaim did

not operate as an adjudication on the merits under Rule 41. Moreover, the Stipulated

Order entered by this Honorable Court on April 23, 2019 (App. 11), which dismissed

the Counterclaim without prejudice, specifically provided that:

             However, Defendant/Counterclaim Plaintiffs’ claim for attorneys’ fees,
             costs and expenses is specifically not dismissed, and the parties agree
             that Dring and Asaro may submit an application for an award of
             attorneys’ fees, costs and expenses to the District Court within thirty
             (30) days of the approval of this Stipulation.

(App. 11).    If the voluntary dismissal without prejudice would result in an

adjudication against Dring on the merits, neither the Court nor the parties would have

provided that Dring could nonetheless submit an application for an award of

attorneys’ fees, costs and expenses.

       Therefore, Appellants did not prevail on Dring’s trespass claims.        Instead,

Dring has established that Appellants are not entitled to an easement over, or

prescriptive rights to cross or occupy, the West Shore Strip. Accordingly, Dring, as

Appellees, are the prevailing parties and their recovery of reasonable attorneys’ fees

and costs was valid.



                                                                                     39
        Case: 19-3582    Document: 75     Page: 49    Date Filed: 02/15/2022




                                 CONCLUSION

      For all of the foregoing reasons and for all of the reasons set forth in the

District Court’s Memorandum Opinions of October 10, 2018, and October 17, 2019,

which are incorporated herein by reference, it is respectfully submitted that this

Honorable Court should Affirm the District Court’s entry of judgment in favor of

Dring, and Affirm and sustain the District Court’s award of attorneys’ fees.

                                        Respectfully submitted,

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                                                                                    40
        Case: 19-3582     Document: 75     Page: 50     Date Filed: 02/15/2022




                                CERTIFICATIONS


      The undersigned certifies as follows:

      1.     I am a member in good standing of the Bar of the Third Circuit.

      2.     This Brief complies with the page and word limitations of Fed. R. App.

P. 32(a)(7)(A) and (B) in that it contains approximately 11,023 words, excluding the

cover page, tables, signature block, and certifications.

      3.     This document complies with the typeface requirements of Fed R. App.

P. 32(a)(5) and the typestyle requirements of Fed R. App. P. 32(a)(6) because the

document has been prepared in proportionally spaced typeface using Microsoft

Word in 14-point Times New Roman font.

      4.     The text of the printed and electronic versions of the Brief are identical.

      5.     The Trend Micro Smart Protection Network, Security Agent virus

protection program is installed on the network where the electronic version of my

Brief is located, and no viruses were detected.



Date: February 15, 2022                        /s/ Philip A. Davolos, III
        Case: 19-3582      Document: 75      Page: 51    Date Filed: 02/15/2022




                           CERTIFICATE OF SERVICE

      I, Phillip A. Davolos, III, Esquire, certify that on this date, I electronically

filed a true and correct copy of the foregoing Brief of Appellees using the Court’s

CM/ECF system which will send notification of such filing to the following counsel

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